Case 1:05-cr-10035-.]DT Document 11 Filed 06/07/05 Page 1 of 2 PagelD 11

lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE n Er_) BY D_C_
EASTERN DIV|S|ON Fi-‘-- s »--»~"""”"

mw-PH*@@

 

UNlTED STATES'O|`: AMER|CA, ROBEPT §SD\ TRO&\.?
P|alntiff, v&,l_§i:i%? w

V. Cl'. NO. 05-10035-T/An

JAN|ES S. HILL,
Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on June 7, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, who is appointed:

NAME: Dianne Smothers, Asst. Federal Defender
ADDRESS:

TELEPHONEZ

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

A|| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendantl who is not in custody, may stand on his/her present bond.

\l The defendant (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

 

U.S. l\/larshal.
. (}\fmnu
S. THOMAS ANDERSON
United States Magistrate Judge
Charges: possession with intent to distribute cocaine

Assistant U.S. Attorney assigned to case: Kitchen

Rule 32 Was not waived.

This document entered on the docket sheet in compliance
wlth Rule 55 and/or 32(b) FRCrF' on

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 11 in
case 1:05-CR-10035 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

